Case 2:04-cV-02706-.]DB-tmp Document 47 Filed 08/08/05 Page 1 of 2 Page|D 42

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IN 1 HE UNITED STATES DISTRICT coURT §
WESTERN DISTRICT 0F TENNESSEE 05 we _9 w 6, 51

 

   
 

WESTERN DIVISION
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MORGAN KEEGAN & COMPANY, INC., ) \,l\`;,z'g §§ L@tll"$
and RAYMOND JAMES )
& ASSOCIATES, INC., )
)
Plaintiffs, )
v. ) Case No. 04-2706 BP
)
INTERCEPT, INC., et al., )
)
Defendants. )
)

 

ORDER GRANTING MOTION TO FILE DOCUMENTS UNDER SEAL

 

Before the Court is Raymond James & Associates, lnc.’S Motion to File Documents

Under Seal. The Court hereby finds that the Motion is well taken and should be granted

lT IS, THEREFORE, ORDERED, ADJUDGED AND DECREED that the Cornbined
Motion to Enforee Settlement Agreement and Memorandum in Support Thereof, the proposed
Order Granting MOtion to Enforce Settlement Agreement and the Affidavit of JOhn S. Golwen

shall be filed under seal.

IT ls so oRDERED this &_ day of /Q'*»~Ei , 05.
u@t) STATES DISTRI?;§ JUDGE

the docket sheet ln compliance

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wilh Rule 56 andlur 79(a] FHCF on

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Notice of Distribution

This notice confirms a copy ot` the document docketed as number 47 in
case 2:04-CV-02706 Was distributed by faX, mail, or direct printing on
August 9, 2005 to the parties listed.

 

 

Kristen C. Wright

BASS BERRY & SIMS PLC- Memphis
100 Peabody Place

Ste. 900

1\/lemphis7 TN 38103

David Wade

MARTIN TATE MORROW & MARSTON
6410 Pcplar Ave.

Ste. 1000

1\/lemphis7 TN 38119

.1 olin Allen Good

BASS BERRY & SIMS PLC- Memphis
100 Peabody Place

Ste. 900

1\/lemphis7 TN 38103

.1 olin S. Gclwen

BASS BERRY & SIMS PLC- Memphis
100 Peabody Place

Ste. 900

1\/lemphis7 TN 38103

Honcrable .1. Breen
US DISTRICT COURT

